              Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 1 of 7




 1                                                              THE HONORABLE JOHN H. CHUN

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 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

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 9                                                            CASE NO.: 2:23-cv-01495-JHC
      FEDERAL TRADE COMMISSION, et al.,
10                                                            PLAINTIFFS’ MOTION TO
                       Plaintiffs,                            TEMPORARILY SEAL THE
11                                                            PROPOSED ORDER FOR
                  v.                                          PLAINTIFFS’ MOTION TO
12                                                            ENTER AN ESI ORDER
      AMAZON.COM, INC., a corporation,
13                                                            NOTE ON MOTION CALENDAR:
                       Defendant.                             Friday, April 19, 2024
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15

16          Pursuant to Local Civil Rule 5(g) and § 5.6 of the Protective Order (Dkt. #160), Plaintiffs

17 respectfully move the Court to temporarily seal the Proposed Order for Plaintiffs’ Motion to

18 Enter an ESI Order. Plaintiffs are filing this motion only because Amazon maintains that

19 portions of the Proposed Order should be sealed. Plaintiffs do not claim confidentiality with

20 respect to any information that is the subject of this Motion.

21          Pursuant to Local Civil Rule 5(g)(3)(A), the undersigned counsel certify that they met

22 and conferred with Amazon in an attempt to reach agreement on the need to file the Proposed

23 Order for Plaintiffs’ Motion to Enter an ESI Order under seal. Declaration of Christine Kennedy

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     PLAINTIFFS’ MOTION TO TEMPORARILY SEAL                           FEDERAL TRADE COMMISSION
     PROPOSED ORDER FOR PLAINTIFFS’ MOTION                                600 Pennsylvania Avenue, NW
     TO ENTER AN ESI ORDER - 1                                                   Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                         (202) 326-2222
              Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 2 of 7




 1 in Support of Plaintiffs’ Motion to Temporarily Seal the Proposed Order for Plaintiffs’ Motion to

 2 Enter an ESI Order (“Kennedy Decl.”) at ¶¶ 2-3. The parties were unable to reach an agreement.

 3 Id.

 4                                             ARGUMENT

 5           Section 5.6 of the Protective Order requires any party filing information that has been

 6 designated as Protected Material by another party or non-party to “confer with the Designating

 7 Party, in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the Designating

 8 Party will remove the designation, whether the document can be redacted, or whether a motion to

 9 seal or stipulation and proposed order is warranted.” Protective Order § 5.6. Plaintiffs have met

10 and conferred with Amazon regarding the Proposed Order for Plaintiffs’ Motion to Enter an ESI

11 Order, and Amazon has taken the position that portions of it should be sealed. Kennedy Decl. at

12 ¶¶ 2-3.

13           “Historically, courts have recognized a ‘general right to inspect and copy public records

14 and documents, including judicial records and documents.’” Kamakana v. City & Cnty. of

15 Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435

16 U.S. 589, 597 & n.7 (1978)). Accordingly, when a court considers a request to seal, “a strong

17 presumption in favor of access is the starting point.” Id. at 1178 (internal quotation marks and

18 citations omitted); see also W.D. Wash. LCR 5(g) (“There is a strong presumption of public

19 access to the court’s files.”). Courts apply a “good cause” standard when considering requests to

20 seal materials in connection with non-dispositive motions. Kamakana, 447 F.3d at 1180.

21           Amazon asserts that portions of the Proposed Order for Plaintiffs’ Motion to Enter an ESI

22 Order are confidential, and contain sensitive, non-public information regarding Amazon’s

23 information technology systems. Kennedy Decl. at ¶ 3.

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     PLAINTIFFS’ MOTION TO TEMPORARILY SEAL                            FEDERAL TRADE COMMISSION
     PROPOSED ORDER FOR PLAINTIFFS’ MOTION                                 600 Pennsylvania Avenue, NW
     TO ENTER AN ESI ORDER - 2                                                    Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 3 of 7




 1          Plaintiffs do not agree that any portions of the Proposed Order for Plaintiffs’ Motion to

 2 Enter an ESI Order should be sealed, and are filing this motion solely based on Amazon’s

 3 assertion of confidentiality. If entered, the Proposed Order would be a court order, and does not

 4 contain any information that would prejudice Amazon if publicly disclosed. If Amazon files a

 5 “specific statement” supporting its request to seal, as required by Local Civil Rule 5(g)(3)(B),

 6 Plaintiffs will address Amazon’s claimed grounds for sealing in their reply brief.

 7                                           CONCLUSION

 8          Pursuant to Local Civil Rule 5(g) and § 5.6 of the Protective Order (Dkt. #160), Plaintiffs

 9 respectfully request that the Court temporarily seal the Proposed Order for Plaintiffs’ Motion to

10 Enter an ESI Order until Amazon has had an opportunity to file the statement required by Local

11 Civil Rule 5(g)(3)(B) and the Court has ruled on any request to permanently seal.

12

13 Dated: March 22, 2024                          I certify that this brief contains 552 words, in
                                                  compliance with LCR 7(e)(4).
14
                                                  Respectfully submitted,
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     CASE NO. 2:23-cv-01495-JHC                                                          (202) 326-2222
            Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 4 of 7




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     CASE NO. 2:23-cv-01495-JHC                                                (202) 326-2222
             Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 5 of 7




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     CASE NO. 2:23-cv-01495-JHC                                                   (202) 326-2222
             Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 6 of 7




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     CASE NO. 2:23-cv-01495-JHC                                                   (202) 326-2222
             Case 2:23-cv-01495-JHC Document 179 Filed 03/22/24 Page 7 of 7




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     CASE NO. 2:23-cv-01495-JHC                                           (202) 326-2222
